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                       U N ITED STA TES D ISTRICT COU RT FOR THE
                             SOU TH EM D ISTRICT OF FLOR ID A
                                      M iam iD ivision

                            C aseN um ber:23-24559-C1V -M 0 1V N 0

  A SSO CIA TED EN ERG Y GR OU P,LLC,a
  Texaslim ited liability com pany,

               Plaintiff,
  VS.

  U S-BA N GLA A IM FNES, a com pany
  incorporated underthe law sofBangladesh,

               D efendant.


                               D EFA U LT FINA L IUD G M EN T

        THIS CA U SE cam e before the Coul'tupon Plaintiffs M otion for Final Judgm entA fter

  DefaultAgainstDefendant(D.E.16),filedonM ay 9.2024.
         THE COURT hasconsidered the m otion and the pertinentportionsofthe record,and is

  otherwise fully advised in the prem ises. A default has been entered against D efendant U S-

  BAN G LA A IRT,IN ES, a com pany incorporated under the law s of B angladesh for failure to

  answ er or otherwise plead to the Sum m ons and Com plaint served by Plaintiff. Counsel for

  Plaintifffiled an Affidavitwith theCourtasto theam ountdue from Defendant. Accordingly,it

  IS

         ADJUDGED thatthe M otion for DefaultFinalJudgmentis GRANTED. Judgm entis

  hereby entered in favor of Plaintiff A SSO CIA TED EN ER GY GR OU P,LLC, a Texas lim ited

  liability company and againstDefendant US-BANGLA AIRT,INES, a com pany incorporated

  underthe law s ofBangladesh. ltis further
Case 1:23-cv-24559-FAM Document 17 Entered on FLSD Docket 05/21/2024 Page 2 of 2




         AD JUD G ED that Plaintiff shallrecover from D efendantU S-BAN GLA A IRLINES, a

  com pany incop orated under the laws of B angladesh com pensatory dam ages in the am ount of

  $214,424.22;pre-judgmentinterestintheamountof$25,951.50;forasum totalof$240,375.72
  plus costs and attorney's fees. lnterestshallaccrue on thisjudgmentpursuantto 28 U.S.C.
  j1961.Forwhichsum 1etexecutionissue.


         DONEANDORDEREDinChambersatMiami,Florida,thisZ/ ofMay,2024.    #'

                                                           z'



                                            FEDERI , .M OR EN O
                                            UN IT,
                                                 B STATES DISTRICT JUD GE

  Copiesf'urnished to:

  CounselofR ecord
